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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  4:09CR3091
                                             )
             V.                              )
                                             )
JOBITA WILLETTA AVERY,                       )                     ORDER
                                             )
                    Defendant.               )

       Counsel for the government has advised me that the defendant is in the hospital and
is paralyzed at this time. Based upon that advice, and with the consent of counsel for the
government,

      IT IS ORDERED:

      (1)    The arrest warrant in this case is withdrawn.

      (2)    The Clerk shall issue a summons for the defendant to appear on Friday, August
             28, 2009, at 1:30 p.m., before the undersigned. Counsel for the government
             shall coordinate the service of the summons with law enforcement or the
             United States Marshals Service.

      DATED this 29th day of July, 2009.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            United States District Judge
